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UNITED STATES DlSTR|CT COL|RT
DlSTR|CT OF NEW .|ERSEY

UNI'I`ED STATES OF AMER|CA.
HON. JOSEPH H. RODR|GUEZ
Plainti|"f.
v. Case No. l:l7-cv-07320-JHR-AMD

THOMAS TOY. MELVA TOY. and
SUPER|OR BARREL AND DRUM CO.. lNC.,

Det`endants.

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ORDER OF ENTRY OF FlNAL JL"DGMF.NT BY DEFAULT
AGAINST DEFENDANTS THOMAS TOY, MELVA TOY. AND
SUPERIOR BARREL AND DRL'M CO., INC.

WHEREAS Det`endants Thomas Toy. Melva To_\-. and Superior Barrel and Drum Co.,
lnc.. are in det`auit. having failed to plead or otherwise defend in this case:

NOW. THEREFORE, upon Plainti|’l"the l_,`nited States ol`America`s motion l`or entryl ol`a
defaultjuclgment under Fed. R. Civ. P. 55(b)(2) against the Def`endants. and for good cause
shown:

lt is hereby ORDERED. AD.I!..'DGED AND DECREED that Plaintit`l`s motion |"or
defau|tjudgment be granted and thatjudgment in favor ofthe United States in the amount ol"
$ 6,370,093 is entered against each of` the Dei`endants Thomas Toy, Me|va 'I`oy, and Superior
Barre| and Drum Co., lnc..jointly and severally. f`or the costs incurred b_\' the United States
through April 30, 2017, in response to the Superior Barrel and Drum Site in Elk To\\nship.
G|oucester County. New Jersey: and

lt is hereby FURTHER ORDERED. ADJUDGED AND DECLARED. in accordance

with section l |3(g)(2) of the Comprehensi\-'e Environmental Response. Compensation. and

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Liabi|it_v Act, 42 U.S.C. § 96|3(g)(?.). that each ol`the Dc|`endants Thomas Toy. l\/|e|va Toy. and
Superior Barre| and Drurn Co.. lnc. isjointlyl and severally liable for all further costs incurred by
the United States not inconsistent with the National Contingency P|an in response to the Superior

Barre| and Drum Site.

ENTERED this l 31 _'

 

